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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

)
ROOFER’S PENSION FUND, Individually ) No. 16-CV-2805-MCA-LDW

and on Behalf of All Others Similarly )
Situated, )
sss on
Plaintiffs, ) [P SED] ORDER GRANTING
) MOTION TO SEAL LETTER ROGATORY
v. ) PAPERS
)
PAPA, et al., )
)
Defendants. )

 

This matter having come before the Court by counsel for defendant Perrigo Company ple
(“Perrigo”) seeking an order granting its motion to permanently seal papers related to the
proposed Letter Rogatory (ECF No. 201, 202, 203, & 204); and the Court having reviewed the
proposed final version of the Letter Rogatory jointly submitted to chambers by the partics on
July 12, 2019, and the specific material for which sealing is requested as identified in the Index
annexed to the Declaration of James E, Anklam dated July 36, 2019; and

This Court having fully considered the papers filed by Perrigo in support of Perrigo’s
motion to seal, which aver that the motion is uncontested and that plaintiffs take no position on
the motion; the Court having further found that the standards of Local Civil Rule 5.3(c)(3) have
been met and support the sealing, and for good cause shown:

IT IS on this Tt ey of Pw ( ut 2019;

ORDERED that Perrigo’s motion to seal is granted and the parties’ previously filed
sealed Motion papers (ECF 201 and 203) are permanently sealed;

ORDERED that the parties’ previously filed redacted papers (ECF 202 and 204) are

approved as redacted; and
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ORDERED that the two-page proposed public version of the Letter Rogatory submitted
by the parties to chambers on July 12, 2019 shall be publicly filed once the Court has issued the
Letter Rogatory and that Exhibit A, Schedules A, B, and C, and the Exhibits to Schedules B and
C shall remain permanently sealed. Exhibit B of to the Letter Rogatory is the already publicly
filed Confidentiality Order (ECF 151) and does not need to be refiled.

The following Findings of Fact and Conclusions of Law are hereby made:

l. Documents filed in connection with Plaintiffs’ Motion for a Letter Rogatory and
Defendants’ Response reveal confidential non-public discovery activities that are protected from
disclosure under Fed. R. Civ. P. 26, 30, 31, and 34.

2. There is a common law presumption of a public right of access to judicial
proceedings and records. See /n re Cendant Corp., 260 F.3d 183, 192 (3d Cir. 2002). “The right
of public access, however, is not absolute and the presumption of access may be rebutted.”
Cuadra v. Univision Cmine’ns, Inc., Nos. 09-4946, 2012 WL 1150833, at *11 (D.N.J. Apr. 4,
2012) (citing Cendant). In particular, there is no general public right of access to discovery
papers and discovery activities. Seattle Times Co. v. Rhinehart, 467 U.S. 20, 33 (1984); N.
Jersey Media Grp., Inc. v. United States, 836 F.3d 421, 434-35 (3d Cir. 2016).

3. Perrigo has demonstrated that these discovery papers are confidential under
principles recognized by Federal Rules 26(c), 30(c}(3), and 31(b).

4. Perrigo requests sealing of its confidential business documents that have never
been made public reflecting internal business deliberations about its business methods and
analyses. Perrigo has demonstrated that these discovery papers are Perrigo confidential business
information or describe confidential business information and so qualify for protection under the

Confidentiality Order already entered in the case (ECF 151) as well as under Local Civil Rule
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5.3, See generally Valeant Pharms. Lux. S. art. v. Actavis Labs. UT, Inc., 2018 WL 1469050,
*3 (D.N.J. Mar. 26, 2018) (sealing presentation slides and other internal documents revealing
sensitive business strategies); United Therapeutics Corp. v. Actavis Labs FL, Inc., 2017 WL
2172438, *2-*3 (D.N.J. May 17, 2017) (sealing proprietary business information); Goldenberg v,
Indel, Inc., 2012 WL 15909, *3 (D.N.J. Jan. 3, 2012) (sealing emails containing fee calculations
and other financial information); see also Food Mktg. Inst. v. Argus Leader Media, 139 S. Ct.
2356 (2019) (discussing the test for business confidentiality under FOIA Exemption 4). Public
release of information about Perrigo’s confidential business practices could be detrimental to
Perrigo’s competitive business activities and provide business advantages to those with whom
Perrigo docs business or those who compete with Perrigo.

5. In making this determination, I have considered that publicly releasing the
information about Perrigo internal business deliberations in these instances would serve no
legitimate purpose, would implicate no matter important to public health or safety, would not
promote fairness or efficiency, and would not serve to shield a public entity or figure from
inquiry. See Glenmede Trust Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995).

6. Perrigo has demonstrated that certain of these discovery papers are confidential
arbitration filings and so qualify for protection under the Confidentiality Order already entered in
the case (ECF 151) as well as under Local Civil Rule 5.3.

Cc. Other Factors
ds x" gegnnnitts take no position bie t seal requests sought by Perrigo. Wo ees a

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D. Conclusion

8. There is no reasonable less restrictive alternative to the redactions ordered.
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9. The Motion to Seal is granted and the following information is hereby ordered
SEALED:
a. the final version of the Letter Rogatory (except the two-page proposed public
version) including Exhibit A, Schedules A, B, and C and the exhibits to
Schedules B and C; and
b. the unredacted versions of the motion papers filed by the Plaintiffs (ECF 201)
and Defendants {ECF 203).
10. The redacted versions of the motion papers filed by the Plaintiffs (ECF 202) and
Defendants (ECF 204) are approved as redacted and need not be refiled.

Ll. The Clerk of the Court is directed to terminate the motion at ECF No. pat. =O 4

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(/ Hon. Leda Dunn Wettre
U.S. Magistrate Judge

 
